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(for filers who are prisoners without lawyers) EAST RN PE ARICT-Wt

UNITED STATES DISTRICT COURT 2819 JUL 2u P 2 18:
EASTERN DISTRICT OF WISCONSIN sjeppHen c. ORIES
“CLERK

 

(Full name of plaintiff(s))

Witham & Shaw

 

 

v. Case Number: .
i 9 -C-i 0 5 9

(to be supplied by Clerk of Court)

(Full name of defendant(s))

 

City of Milwaukee. 4 Chief Edwerrd Flynn 5

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Se gaan Timothy A Hauf + Police Officor Michacl Antontal 5

Police Officer ristosher Naduscha ‘ Police OF Ficee Thomas J Slowinsks ,
LNDEVIBUALLY ANDIEM THEER OFFECEAL CAPACITY MILWAUKEE POLLCE
A. PARTIES BEAGRTMENT OFFELCEES OF PIE LW BIE E SoOueyy

1. Plaintiff is a citizen of Milwaukee. Wisaensie _, and is located at
(State)

449 nv ath St, Milwaulses Wi 53233 Milwaukee Gounty tol
. (Address of prison or jail)

 

(If more than one plaintiff is filing, use another piece of paper.)

2. Defendant

 

(Name)

Complaint - 1

Case 2:19-cv-01059-WCG Filed 07/24/19 Page 1o0f41 Document 1

 
 

 

 

 

  
 
 

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Case 2:19-cv-01059-WCG © Filed 07/24/19 Page 3 of 41° Document 1

 
 

 

 

 

  

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- “CASE D19-CV-01059:WCG Filed 07/24/19 Page 4 of 41 Document i ~

 
 

 

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and (if the defendant harmed you while doing the defendant’s job)

    

 

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vwauker el
(If you need to list more defendants, use another piece of paper.)

= Sb) Francis

B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
- Who violated your rights;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you know.

Toe SNe

ed. On Folbruary 21, 2014 ot apo camimaat chy “26 Pra Wiliam & Shaw waste lis

 

 

 

 

 

 

 

 

 

Complaint - 2

Case 2:19-cv-01059-WCG Filed 07/24/19 Page 5of41 Document 1

 

 
 

 
 

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Complaint — 3

 

Case 2:19-cv-01059-WCG Filed 07/24/19 Page 6 of 41 Document 1

 

 
 

 

 

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Case 2:19-CV-01059-WCG Filed 07/24/19" Pagé 7 of 4I Document 1 S
 

 

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Bage 8 of 41 Document 1

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oi _. Case-2:19-cv-01059-WCG.. Filed 07/24/19. Page.17 of.41..Document.1... co
 

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of Wiseonsin Hol. al, End of Affidavit é

 

 

 

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=“ CASS DTO-CV-OTUSS-WCG” Filed O7/24719° Page 19 of AT Document I nn
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\Avistoeher vi dus ale & upen arres> 5 Nie. Shaw \roeel been Sul) ah cd +e differentia! bias traabwment

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TE" CBSS DTO-CV-OLOSI-WCG Filed 07/24/19 Pagé 20 of At” Document 1
(20)
 

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_Yainar Medical Cent! e ocatad od M5. NOE 6T Milwaukee, WI) 58053 lo, Oafendact’

 

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15), Plaintiff Slaw was Faken Through tea om rgency entrance straight *: and _
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Gase-2:19-cv-01059-WCG- Filed 07/24/19. Page 22 of-41--Document-1-

(a2)
 

 

 

 

Ue). Me. Savt was hand cuffed to Yoo beck ¢ ed both Ocfeadand officers Antonia | |

 

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hansssacy, to do a rectal search anginat Yoo, foticnts: will, after reviwing the warrant

ad aklacheal affidavit

 

 

 

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— despite he infermatian. fancerning. The, daSslomsea he Sgearcly Warrant a ee

   

 

   

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and Maduscha was.explicitly made aware. oat the search was. inseffic want, and

fo sid mob be used 4 eckal gaare cha vast Me. Shows. Wah es
=— ° Case 2:1 p ob feetuate: Mie rectal 28 Page 2 22 an 41. Document 1

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ro. perk em arectal caviky earen on Me. Shaw and Yhat he hed a iqned Search Warrant, |

 

 

  
  

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PA Teska Shot he

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_ Fae rectal ee iby Searcy . Ne. Shaw responded oy anko rein:

 

  

  

 

  

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42), Defendant’ PR Daniel Tesko then stated te Me. Shaw that bh lncole a

 

  

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2.1 Defendants PA Daniel Taleo. and. hp Mad: a

 

  

    

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began oe to Vneir hands , and as Anteniak and Madusche starhed
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__a*t Mr. Shaw , os using Mr. 5b emt to. bezome imolnle willy overwhaleing

 

     

 

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-_\Wesgon - further inki tentahocking, Me. Shaw. and visasly. andy ncaking. oe would _
8 loe. waiting kamortally tare hi if nocd low.

25). At Yona Sama Hime Defendant PA Daniel Teska told Me. Shaw Steenly to. pal davn_

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nage e lvic area.

  

 

 

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ee ~ Case 2: 19 =CV-01059- WCC” Aled 07/24/19” “Page 27 of 41~ ‘Document 1 —
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__any_Centraband on hat ee of andor inchs 4 ktox and er veside is rectal cauthy

 

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109). Me. Shaw had v mained in custody for nearly (10 days Far @ Sanction from his

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pr obation officer ,

 

 

 

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141), On September 30, 2015 Police Sergeant Willian C. Walsh of Ane
_ Lubermel Affairs Division wank to Cantral

. Sgt. Walsh was informed by. Police Luecutenant Phil Henschel ef Yhae Milwankee
Police Depa bmen Yet room 520 did mot exist

 

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he bid Qs A. Ghenp Sea hh area , wit no cameras or
wn acardiag devices init,

 

   

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Me, Shaws axlNagertia to Bre MPD Leternal Affairs Bivisiss

 

 

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(38)—

 
 

 

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114). Me. Shaw alse filed a¢ me laink with the © Wisconsin 4 ae et Saf. by
_and Professional § ¥ 18 5). cenit ais conduct at PA Daniel Teska, and other
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(29)
 

 

Me). eet vecieved a letter from tha Wisconsin Depart ment of Safed. sp
and. Prafess onal Services tat no misconduct had loean fouod with the Defendants.

 

 

 

 

 

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Tateanee Gordon and omer Uelkeooin ee Officers)

       

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_ wallfulness . ond reelless. indifference. Xe. he rights. of others , and. was.

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C3)

 
 

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undertaken intentionally win willlol yodiffevence bo Plaintiffs constitu

 

 

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willfulness , and veekless indifference ko Yhe rie ais ot others .

   

 

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Milwaukee. is Viable foc Bheie achions

  

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Count TIT-420.5.6. 1982

Fourth Amendment
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|__ Kristopher Maduscha ) :

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Yech, Michae) Antena

 

 

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Casé 2:19-Cv-01059-WCG Filed 07/24/19 Page 39 of 41 Document Tt ==
 

 

C. JURISDICTION

 

Tam suing for a violation of federal law under 28 U.S.C. § 1331.

Vanue is proper under B&B UWiSeG. *IBatCey
OR

[] Iam suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$

D, RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to

stop doing something.

 

 

Edwacd Tiyan + Terrance Grarcon , Michael Antonial . Ye stooher Madascna ,

nski, Unknown Milwaukee, PolicoDepartment

 

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Complaint — 4

Case 2:19-cv-01059-WCG Filed 07/24/19 Page 40 of 41 Document 1 i ‘

 
 

 

E. JURY DEMAND

I want a jury to hear my case.

[ ]-No

 

I declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this_1Q ” day of wus 201%

Respectfully Submitted,

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Sighature of Plaintiff

20 10a LIS
Plaintiff’s Prisoner ID Number

 

qua nw Vi Se,

Milwavkee , hhh 552.3%
(Mailing Address of Plaintiff)

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

I DO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint.

 

I DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

 

Complaint —5

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